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                         THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

Stipkala & Klosowski LLC d.b.a. Thrive IP®
                           Plaintiff,                        Civil Action No.: 2:21-cv-01829-DCN
                     v.

Thrive Law & Consulting LLC,
                     and
Katherine Corinne Bischoff,
                            Defendants.
__________________________________________


                                    NOTICE OF SERVICE

       Pursuant to Federal Rule of Civil Procedure 4, Plaintiff Stipkala & Klosowski LLC d.b.a.

Thrive IP® hereby provides notice that Defendants Thrive Law & Consulting LLC and

Katherine Corinne Bischoff were served with the Summons, Complaint, and Exhibits 1-6 on July

27, 2021. Exhibits 1 and 2 are the Returns of Service affidavits signed by the process server

showing proof of service on each Defendant.



Dated: August 11, 2021                        Respectfully submitted,

                                              s/Jeremy M. Stipkala
                                              Jeremy M. Stipkala (Fed. Id. No. 10479)
                                              THRIVE IP®
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                                              Suite 1201
                                              North Charleston, SC 29420
                                              Tel: 843.580.9057
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                                              Jeremy.Stipkala@Thrive-IP.com

                                              Attorney for Plaintiff




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